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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       5/12/2021



  Yu,

                         Plaintiff,
                                                                                17-cv-07327 (AJN)
                 –v–
                                                                                     ORDER
  City of New York, et al.,

                         Defendants.



ALISON J. NATHAN, District Judge:

        The Court has received Plaintiff’s Motion for Leave to Appeal in forma pauperis. Dkt.

No. 90. Under 28 U.S.C. § 1915(a)(3), “an appeal may not be taken in forma pauperis if the trial

court certifies in writing that it is not taken in good faith.” In the Court’s Memorandum Opinion

& Order granting Defendants’ motion to dismiss, the Court found under Coppedge v. United

States, 369 U.S. 438, 445 (1962), that “pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from

this order would not be taken in good faith.” Dkt. No. 84. Plaintiff’s motion is therefore

DENIED.




        SO ORDERED.

 Dated: May 11, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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